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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CR. NO. 99-00107 SOM
                               )
           Plaintiff,          )          ORDER DENYING DEFENDANT’S
                               )          MOTION FOR COMPASSIONATE
                               )          RELEASE
                               )
      vs.                      )
                               )
 Christopher Jose Cisneros,    )
                               )
           Defendant.          )
                               )
 _____________________________ )

                    ORDER DENYING DEFENDANT’S MOTION
                        FOR COMPASSIONATE RELEASE

 I.         INTRODUCTION.

            In 1999, Defendant Christopher Jose Cisneros was

 sentenced to life in prison for having possessed 50 grams or more

 of methamphetamine with intent to distribute, in violation of 21

 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).        At the time, a life

 sentence was mandatory because of his two prior convictions.             In

 2018, however, Congress amended 21 U.S.C. § 841 as part of the

 First Step Act.    Under today’s law, Cisneros would face a

 mandatory minimum sentence of 15 years for his drug offense (in

 addition to his 20-year sentence for a separate offense).

            Congress did not make that amendment to § 841

 retroactive.    Cisneros nevertheless seeks compassionate release

 under 18 U.S.C. § 3582(c)(1)(A) given the change in the law.             On

 the present record, this court is not persuaded.          Although the

 First Step Act’s changes to § 841 may justify a defendant’s early
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 release in some circumstances, Cisneros has not established that

 his circumstances constitute extraordinary and compelling reasons

 warranting a reduction in his sentence.        The court notes,

 however, that, on a different record, the court might indeed

 grant relief to Cisneros.

 II.        ANALYSIS.

            Cisneros’s compassionate release request is governed by

 18 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

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 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements.

            A.    Cisneros has satisfied the time-lapse requirement
                  of 18 U.S.C. § 3582(c)(1)(A).

            As to exhaustion, it appears that because Cisneros

 submitted an administrative compassionate release request to the

 warden of his prison more than 30 days before filing this motion,

 see ECF No. 96, PageID # 264, he has satisfied the time-lapse

 requirement of 18 U.S.C. § 3582(c)(1)(A).         The Government is not

 contesting Cinseros’s satisfaction of the exhaustion requirement.

            B.    This court has discretion in determining whether
                  extraordinary and compelling reasons justify a
                  reduced sentence.

            This court therefore turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

 a sentence reduction.     This court recognizes that it possesses

 considerable discretion in determining whether a particular

 defendant has established the existence of extraordinary and

 compelling reasons that justify early release.          United States v.

 Kamaka, 2020 WL 2820139, at *3 (D. Haw. May 29, 2020); see also

 Woolem v. United States, 2020 WL 2820140, at *4 (D. Haw. May 29,

 2020); United States v. Maka, 2020 WL 2544408, at *3 (D. Haw. May

 19, 2020).




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            The Government challenges that conclusion.            Under

 § 3582(c)(1)(A), a court’s finding of extraordinary and

 compelling circumstances must be consistent with the applicable

 policy statement promulgated by the Sentencing Commission.               That

 policy statement permits the Director of the Bureau of Prisons,

 not the courts, to exercise discretion in finding the existence

 of extraordinary and compelling circumstances.          U.S.S.G.

 § 1B1.13; see also ECF No. 99, PageID # 291-93.

            This court’s prior decisions recognized that a court’s

 finding of extraordinary and compelling circumstances must be

 consistent with the Sentencing Commission’s policy statement.

 Kamaka, 2020 WL 2820139, at *2.       However, the policy statement at

 issue has not been updated since Congress passed the First Step

 Act in 2018, because the Sentencing Commission has not had enough

 commissioners to constitute a quorum.        Id.   The First Step Act

 allows courts to hear motions for compassionate release directly.

 See id. at *3.    Before the First Step Act, that authority was

 reserved for the Director of the Bureau of Prisons.          Id.

 Recognizing that courts now possess wide discretion in

 compassionate release cases is consistent with the policy

 statement that accorded the Director of the Bureau of Prisons the

 same discretion before the passage of the First Step Act.                Id.;

 see also Woolem, 2020 WL 2820140, at *4; Maka, 2020 WL 2544408,

 at *3.


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             This court is not persuaded by the contrary decisions

 cited by the Government.      It appears that there is a growing

 consensus that, in light of the First Step Act, courts

 may exercise broad discretion in finding extraordinary and

 compelling circumstances.      See, e.g., United States v.

 Somerville, 2020 WL 2781585, at *6 & n.6 (W.D. Pa. May 29, 2020)

 (collecting cases).     While some courts have held that they remain

 bound by the Sentencing Commission’s outdated policy statement

 because the First Step Act did not explicitly overrule it,1 a

 court’s exercise of broad discretion is in fact consistent with

 the First Step Act itself and with the Sentencing Commission’s

 policy statements promulgated before the passage of the First

 Step Act.

             C.   Cisneros has not demonstrated that extraordinary
                  and compelling circumstances justify his early
                  release.

             In any event, extraordinary and compelling



       1
         See, e.g., United States v. Ebbers, 2020 WL 91399, at *4
 (S.D.N.Y. Jan. 8, 2020) (the First Step Act “only expanded access
 to the courts; it did not change the standard”); United States v.
 Willingham, 2019 WL 6733028, at *2 (S.D. Ga. Dec. 10, 2019)
 (rejecting the majority of decisions holding that courts may
 exercise discretion because they “rest upon a faulty premise that
 the First Step Act somehow rendered the Sentencing Commission’s
 policy statement an inappropriate expression of policy”); United
 States v. Shields, 2019 WL 2359231, at *4 (N.D. Cal. June 4,
 2019) (“Shields has not cited, and the Court has not discovered,
 any authority for the proposition that the Court may disregard
 guidance provided by the Sentencing Commission where it appears
 that such guidance has not kept pace with statutory
 amendments.”).

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 circumstances are not present here.        Cisneros’s main argument is

 that “the dramatic change time has wrought in the sentences

 applicable to his offenses is an extraordinary and compelling

 reason to reduce his life sentence to the 15-year sentence he

 would receive if sentenced under today’s version of the

 Controlled Substances Act or, at worst, to the 21 years he has in

 fact served.”    ECF No. 96, PageID # 261.       As Cisneros asserts,

 the First Step Act reduced the mandatory minimum sentences for

 repeat offenders under 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).

 First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194,

 § 401(c).   Congress, however, did not make that provision

 retroactive to cases such as Cisneros’s.         See United States v.

 Wiseman, 932 F.3d 411, 417 (6th Cir. 2019); see also First Step

 Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, § 401(c) (“This

 section, and the amendments made by this section, shall apply to

 any offense that was committed before the date of enactment of

 this Act, if a sentence for the offense has not been imposed as

 of such date of enactment.”).       Consequently, this court hesitates

 to conclude that it should reduce Cisneros’s sentence solely on

 the ground that the change in the law constitutes an

 extraordinary and compelling circumstance.         Otherwise, every

 inmate who might receive a reduced sentence today would be

 eligible for compassionate release, and Congress’s decision not

 to make the First Step Act retroactive would be meaningless.


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             Having said that, this court notes that extraordinary

 and compelling circumstances might justify a defendant’s release

 if that defendant would receive a reduced sentence under the

 First Step Act and other factors also supported an early release.

 See, e.g., United States v. Bryant, 2020 WL 2085471, at *3 (D.

 Md. Apr. 30, 2020) (“[I]t is not unreasonable for Congress to

 conclude that not all defendants convicted under § 924(c) should

 receive new sentences, even while expanding the power of the

 courts to relieve some defendants of those sentences on a

 case-by-case basis.” (quotation marks omitted)).          For instance, a

 defendant who would now be subject to a reduced sentence and who

 is particularly vulnerable to COVID-19 might show entitlement to

 compassionate release.      A defendant might also show that he has

 already served a considerably longer sentence than he would

 receive today and might also present compelling evidence of his

 rehabilitation.    However, this court does not need to decide at

 this point exactly when a defendant who would receive a lower

 sentence today might be entitled to compassionate release.            On

 the present record, Cisneros has not shown that he is entitled to

 early release.

             Cisneros contends that he is vulnerable to COVID-19

 because of “respiratory problems that require the use of an

 inhaler.”    ECF No. 96, PageID # 266.      That cursory description of

 his condition leaves this court with more questions than answers.


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 See Woolem, 2020 WL 2820140, at *5.        This court cannot determine

 the severity of Cinseros’s respiratory problems, or whether they

 are being controlled by medication or other treatment.            On the

 present record, Cisneros has not established that the coronavirus

 is particularly dangerous to him.        See id.

                Nor does Cisneros present compelling evidence of his

 rehabilitation.       Indeed, he has been repeatedly disciplined for

 misconduct during his incarceration.        ECF No. 99-2, PageID # 312-

 316.       That misconduct includes several instances of fighting with

 other inmates, the possession of unauthorized weapons, and

 possession or use of drugs, most recently in 2017.          Id.     This

 court recognizes that an individual sentenced to life in prison

 may have little motivation to comply with all restrictions.2

 Whatever the basis for the misconduct, this court cannot conclude

 that Cisneros has been rehabilitated.3

                And Cisneros does not even argue that he would have


        2
         Cisneros should still have had some motivation to comply
 with the rules. Even before the amendment of the First Step Act,
 Cisneros could have asked the BOP to move for his compassionate
 release, although the BOP would likely be even less inclined than
 an Article III judge to conclude that someone in Cisneros’s
 circumstances qualified for compassionate release under the
 “catch-all” provision in the Sentencing Commission’s policy
 statement.
        3
         Cisneros argues that, even if he has not been
 rehabilitated, he will not pose a threat to anyone in            the United
 States because he will be deported to Mexico if he is            released.
 But Cisneros entered the United States illegally with            drugs.
 Given his apparent ongoing drug use, the risk that he            will repeat
 his crime cannot be dismissed out of hand.

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 been limited to 15 years in prison had he been sentenced today.

 With respect to time, Cisneros has already served 21 years in

 prison and would face a mandatory minimum of 15 years on the drug

 offense rather than mandatory life if he were sentenced today.

 But Cisneros was sentenced to mandatory life on the drug charge

 and concurrently to 240 months on the charge of having illegally

 reentered the United States following deportation, a sentence he

 does not argue the First Step Act changed.         It is not clear to

 the court whether he might have earned good time credit on the

 illegal reentry count, or whether his infractions while

 incarcerated would have counted against that.         The point is that

 Cisneros might not necessarily have been released after 15 years

 (or earlier if he had good time credit) had he been sentenced

 under the amended law.      Admittedly, with or without good time

 credit, he would certainly have completed his 240-month sentence

 on the illegal reentry count by now.        The court is not saying he

 would still be in prison.      The court is only saying that Cisneros

 cannot say he would have gotten out as many as six years ago.

             Cisneros’s circumstances may change.        As time passes,

 the disparity between the sentence Cisneros has already served

 and the sentence he could receive under the First Step Act will

 increase.    Moreover, if his behavior in prison improves, Cisneros

 may be able to show that he has been rehabilitated.          At this

 point, the most the court can say is that, as things stand today,


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 Cisneros has not shown that extraordinary and compelling

 circumstances support his release.

             Because this order may lead Cisneros to bring another

 motion in the future, this court wants to be clear about what it

 is and is not ruling here.

             The court is ruling that Cisneros has not shown

 entitlement to compassionate release at present.          This court is

 confining this order to the present record and the present state

 of the law.    Earlier in this order, this court noted that it is

 reading § 3582(c)(1)(A) as vesting this court with considerable

 discretion given the “catch-all” provision in the Sentencing

 Commission’s policy statement.       Right now this court reads the

 statute as allowing the court to consider a change in the

 sentencing regime as a factor in whether compassionate release

 should be ordered.     The court nevertheless concludes that, not

 having made that change in the sentencing regime retroactive,

 Congress did not intend that the change alone would justify an

 early release.     This court might weigh the change in the law

 differently if the United States joined in Cisneros's request.

 Cf. United States v. Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014)

 (reopening proceedings to reduce a sentence with the agreement of

 the Government).     That has not happened.

             This court therefore examines whether other factors,

 such as Cisneros’s medical situation in the midst of a pandemic,


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 his behavior while incarcerated, and the time he has already

 served, to see whether those factors add enough to the change in

 the sentencing regime to justify compassionate release at this

 time.   This court discussed those other factors earlier and found

 them insufficient to justify early release.

             The court is not ruling that it will never order

 compassionate release in this case.        Nor is the court committing

 to releasing Cisneros in the future on some different record.             As

 noted earlier in this order, Cisneros has had a number of

 infractions while incarcerated.        His last reported drug

 infraction was in 2017.      It could be argued that the gap between

 then and now is sufficiently long that this court need not worry

 that he continues to use drugs.        But Cisneros’s disciplinary

 record includes reports of infractions separated by three or even

 four years, suggesting that the gap since 2017 does not indicate

 that he has overcome his drug problem.         The court is well aware

 that many individuals complete significant prison terms without

 overcoming drug problems, and that Cisneros is no worse than they

 are in that regard.      Cisneros, however, has the burden of showing

 extraordinary and compelling reasons for early release.            This

 court is ruling here that something more than what he has so far

 shown is needed for him to meet that burden.




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 III.        CONCLUSION.

             Cinseros’s request for compassionate release under 18

 U.S.C. § 3582(c)(1)(A) is denied.

             It is so ordered.

             DATED: Honolulu, Hawaii, June 9, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge




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